12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
                   October invoices Part 1 of 15 Pg 1 of 40




                                                                         Exhibit 2
12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
                   October invoices Part 1 of 15 Pg 3 of 40
12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
                  October invoices Part 1 of 15 Pg 18 of 40
12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
                  October invoices Part 1 of 15 Pg 19 of 40
12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
                  October invoices Part 1 of 15 Pg 20 of 40
12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
                  October invoices Part 1 of 15 Pg 21 of 40
12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
                  October invoices Part 1 of 15 Pg 23 of 40
12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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                  October invoices Part 1 of 15 Pg 32 of 40
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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12-12020-mg   Doc 2324-2 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2-
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